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                              United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

   UNITED STATES OF AMERICA                         §
                                                    §   Criminal Action No. 4:18-CR-216
   v.                                               §   (Judge Mazzant/Judge Nowak)
                                                    §
   DEREK DESHAUNN TURNER (34)                       §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On September 15, 2020, the report of the Magistrate Judge (Dkt. #913) was entered containing

  proposed findings of fact and recommendations that Defendant Derek Deshaunn Turner’s Motion

  and Supporting Memorandum for Bill of Particulars (Dkt. #744) be denied.

          Having received the report of the United States Magistrate Judge, and no objections thereto

  having been timely filed, the Court is of the opinion that the findings and conclusions of the

  Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

. conclusions of the Court.

          It is therefore ORDERED that Defendant Derek Deshaunn Turner’s Motion and

  Supporting Memorandum for Bill of Particulars (Dkt. #744) is DENIED.

          IT IS SO ORDERED.
          SIGNED this 16th day of October, 2020.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
